Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 1 of 17

Honorable Thomas S. Zilly

UNITED STATES DISTRICT COURT
WESTERN WASHINGTON
AT TACOMA

BRANDON THOMAS ROBERTS,
Case No. 3:21-cv-05165-TSZ
Plaintiff,

v. AMENDED COMPLAINT

CITY OF BAINBRIDGE ISLAND, a political
subdivision of the State of Washington,
MATTHEW HAMNER, Chief of the Bainbridge
Island Police Department, in his personal
capacity, DALE JOHNSON in his personal
capacity; WELLPATH, LLC, a Delaware
Limited Liability Company and f.k.a. CORRECT
CARE SOLUTIONS, LLC a Delaware Limited
Liability Company; KITSAP COUNTY, a
Washington State municipality, MARK
RUFENER, in his personal capacity; JOHN
GESE, in his personal capacity; GARY
SIMPSON, in his personal capacity; JOHN AND
JANE DOES 1-30, in their personal capacities,

Defendants.

NATURE OF ACTION

Dale Johnson, a law enforcement officer employed by the City of Bainbridge Island,
Washington, unlawfully assaulted Brandon Roberts with a firearm in violation of Mr. Roberts’
civil rights. After being shot several times Mr. Roberts was taken to the hospital. After he was

discharged from the hospital he was incarcerated in the care of Kitsap County and the Kitsap

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 2 of 17

County Sheriff's Department. While incarcerated he was intentionally and negligently, given
substandard medical care for his gunshot wounds. Wellpath, LLC provided the care in the Kitsap
County Jail. Both the City and County's policies, procedures and negligence caused Mr. Roberts

damages.

I. JURISDICTION AND VENUE

1.1 This in an action for violation of the violation of Mr. Roberts federal civil rights
under the laws of the United States, 42 U.S.C. § 1983 et seq. This Court has original jurisdiction
over this action under 28 U.S.C. §1331, and under the principles of supplemental jurisdiction
pursuant to 28 U.S.C. § 1367. This action was initially filed in Washington state court but was
removed by the Defendants.

1.2. This Court has personal jurisdiction over Defendants because they are residents of
the State of Washington.

1.3. Venue is proper in this judicial district under 28 U.S.C. §§ 1391, 1391(b)(1), and
1391(c)(1), as Defendants are residents of this judicial district and are subject to this Court’s
personal jurisdiction.

I. PARTIES

2.1 Plaintiff BRANDON THOMAS ROBERTS is an adult resident of Pierce County.

22 Defendant CITY OF BAINBRIDGE ISLAND is a political subdivision of the State
of Washington. City of Bainbridge Island has various departments, including but not limited to
the Bainbridge Island Police Department (“BIDP”), which is responsible for providing law
enforcement services within City of Bainbridge Island.

2.3 Defendant MATTHEW HAMNER, was the chief of BIPD, who at all times

relevant hereto, was acting under color of law. In this role as Chief, Defendant Hamner was

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23

24

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 3 of 17

responsible for the supervisory decisions as they relate to Defendant Officer Dale Johnson.
Defendant Hamner’s acts and omissions were, at all times alleged, affirmatively linked to the
behavior of Defendant Officer Dale Johnson, in the sense that he encouraged, condoned, and/or
acquiesced in their acts, omissions and established practices.

2.4 Defendant DALE JOHNSON was a BIPD Officer who, at all times relevant hereto,
was acting within the scope of his employment, and under color of law.

25 Defendant WELLPATH, LLC, a Delaware Limited Liability Company and f.k.a.
CORRECT CARE SOLUTIONS, LLC (“CCS”) is a Delaware limited liability company with
corporate headquarters in Tennessee. Defendant Kitsap County contracted with CCS to provide
medical services to detainees and inmates at the Kitsap County Jail while Mr. Roberts was detained
in the jail.

26 Defendants JOHN AND JANE DOES 1-15 are yet-identified CCS employees
responsible for policymaking regarding and/or administrating the provisions of healthcare to Mr.
Roberts.

2.7 At all material times, each CCS Defendant, including Defendants Doe 1-15, acted
under color of state law and were state actors.

28 Defendant KITSAP COUNTY is a political subdivision of the State of Washington.
Kitsap County has various departments including but not limited to the Kitsap County Sheriff's
Office, which operates the Kitsap County Jail (“Jail”). Kitsap County is, and was at all times
mentioned herein, responsible for the actions or inactions, and the polices, procedures, and
practices/customs of all health services provided to detainees in the Jail.

29 Defendant MARK RUFENER was Kitsap County’s Corrections Chief. Defendant

Rufener was an administrator who supervised the Jail at the time of Mr. Roberts was detained in

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 4 of 17

the Jail and was responsible for ensuring the presence and implementation of proper policies,
procedures, and training. Defendant Rufener was responsible for the training, supervision and
discipline of the Jail employees and/or agents, including his co-Defendants, CCS, and Defendant
Does 1 through 30.

2.10 Defendant JOHN GESE is the Kitsap County Undersheriff. Defendant Gese is
an administrator who supervised the Jail at the time of Mr. Roberts was detained and
responsible for ensuring the presence and implementation of proper policies, procedures, and
training. Defendant Gese was responsible for the training, supervision and discipline of Jail
employees and/or agents, including his co-Defendants, CCS, and Defendant Does 1-30.

211 Defendant GARY SIMPSON is the Kitsap County Sheriff. Defendant Simpson is
the administrator who supervised the Jail at the time Mr. Roberts was detained at the Jail.
Defendant Gese was responsible for the training, supervision and discipline of Jail employees
and/or agents, including his co-Defendants, CCS, and Defendant Does 1-30.

2.12 Defendants Simpson, Gese, and Rufener shall hereafter be referred to collectively
as “Kitsap Policymaking Defendants.” At all material times, each Kitsap Policymaking
Defendants acted under color of law and were state actors.

213 Defendants JOHN AND JANE DOES 16-30 are yet-identified Kitsap County
employees responsible for policymaking regarding and/or administrating the provisions of
healthcare to Mr. Roberts.

2.14 Defendants Kitsap County, Simpson, Gese, Rufener, and Defendant Does 16-30
shall be referred to collectively as “County Defendants.” At all material times, each County
Defendant acted under color of the laws, statutes, ordinances, and regulations of the State of

Washington and was a state actor.

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 5 of 17

Il. FACTS GIVING RISE TO CLAIM

3.1 On February 7, 2018, Law enforcement officers and medical first responders
responded to the parking lot of Ordway Elementary in Bainbridge Island, Washington after
receiving reports of an unconscious woman. The woman was Mr. Roberts’ friend, and when first
responders arrived, Mr. Roberts was beside her giving her CPR. Mr. Roberts told the first
responders that she had overdosed on heroin. Some first responders on the scene told Mr. Roberts
to leave because his car, a Ford Mustang, was in the way and he was hovering around worried
about his friend. Mr. Roberts left driving his Ford Mustang.

3.2 Despite Mr. Roberts being free to leave, Defendant Johnson pursued Mr. Roberts
in his patrol car after he drove away. Later, law enforcement witnesses claimed Mr. Roberts was
ordered to stay and struck an officer in the knee as he left.

33. Defendant Johnson eventually struck the driver’s side door of Mr. Roberts’ vehicle
when he reached a dead end making it impossible for Mr. Roberts to exit through the driver’s side
door of his vehicle.

3.4 Law enforcement officers, including Defendant Johnson surrounded Mr. Roberts’
vehicle and ordered him to exit. Mr. Roberts initially refused to exit, and made unflattering
comments to Defendant Johnson.

3.5 Mr. Roberts eventually began maneuvering to exit through the front passenger door
as the driver’s side door was blocked by Defendant Johnson’s patrol car. Mr. Roberts is 6 2” and
weighs approximately 240 pounds so him exiting past the center console through the passenger

side door was an awkward maneuver in a Ford Mustang.

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 6 of 17

3.6 AsMr. Robert’s was preparing to exit, Defendant Johnson moved from his position
on the driver’s side of the vehicle where Mr. Roberts was calling him names, to the passenger side
and shot Mr. Roberts in the chest and hand without just cause.

3.7. Defendant Johnson later alleged that while Mr. Roberts was inside the vehicle he
lunged across the interior of the vehicle with a knife and was a threat to the officers outside the
vehicle.

3.8 No other law enforcement officers near the vehicle discharged their weapons.

3.9 | Numerous bystanders saw Defendant Johnson shoot Mr. Roberts and recorded the
shooting on video. No video shows Mr. Roberts lunging at anyone with a knife and evidence later
showed that one of Defendant Johnson’s bullets went through Mr. Roberts’ hand while it was on
the steering wheel.

3.10 Defendant Johnson was wearing a department issued body camera but did not
activate his body camera until after he shot Mr. Roberts.

3.11. Mr. Roberts was the second person Defendant Johnson shot while on duty in less
than a year. Defendant Johnson was one of several officers who shot and killed Robert D. Yeiser
on July 9, 2017.

3.12 BIPD has a policy, custom and established practice of condoning and encouraging
the type of shoot first ask questions later mentality deployed by Defendant Johnson.

3.13 In 2012 a federal jury found Bainbridge Island and its Police Chief liable and
awarded the family of Doug Ostling $1,000,000.00 after he was shot by BIPD officers who were

coworkers with Defendant Johnson.

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 7 of 17

3.14 BIPD also has a policy, custom, and established practice of failing to supervise and
train its officers to use deadly force as a last resort, as required by generally accepted police
practices.

3.15 Defendant Johnson was not disciplined, reprimanded, or provided additional
training for his reckless and negligent acts and omissions. Instead, he was praised for bravery by
his supervisors including Defendant Hamner and given a medal.

3.16 Each of these policies, customs, and established practices, described above and in
other respects as well, were a direct, proximate cause of Mr. Roberts’ injuries.

3.17. After he was shot, Mr. Roberts was transported to Harborview Medical Center in
Seattle, WA for medical care for the gunshot wounds.

3.18 Bainbridge Island police officers were assigned to guard Mr. Roberts at the hospital
until he was discharged pending investigation of Defendant Johnson’s allegations.

3.19 The day after he was shot, Mr. Roberts was transported by Bainbridge Island police
officers from Harborview Medical Center to the Kitsap County Jail. Corrections staff were aware
he had sustained gunshot wounds to his chest and hand.

3.20 Bainbridge Island Police Officer Bob Day met with the medical staff at the jail and
gave them the discharge paperwork from Harborview Medical Center. The medical staff at
Harborview had given explicit instructions for how to care for Mr. Roberts’ injuries.

321  Harborview’s instructions included pain medication oxycodone, and twice daily
chest wound packing with lidocaine jelly.

3.22 On February 9, 2018, Mr. Roberts was charged by the Kitsap County Prosecuting
Attorney’s Office under Kitsap County Superior Court Cause No. 18-1-00233-18 with one count

of Assault in the First Degree against “Bainbridge Police Department Officer John Doe”.

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 8 of 17

3.23 Mr. Roberts was scheduled to appear in court on February 9, 2018 for arraignment
but was unable to appear because he was bleeding and had not had his bandages changed.

3.24 Mr. Roberts was interviewed for the preparation of a bail study on February 9, 2018
and noted he was supposed to “have the gauze changed and it has not been done.”

3.25 On February 13, 2018, Mr. Roberts was arraigned, entered a plea of not guilty and
held on $1,000,000 bail. Mr. Roberts was unable to post bail and remained in custody pending
trial.

3.26 In the following weeks while awaiting trial and recovering from his injuries, the
jail medical staff mocked and laughed at Mr. Roberts’ pleas for pain relief medication, denied his
pleas for pain medication, forced him to sleep on the floor exacerbating the pain from the wounds,
did not follow the discharge instructions from Harborview, frequently delayed changing his
bandages resulting in him having to ball up available clothing to stop the bleeding from the gunshot
wound to his chest, and failed to use the lidocaine jelly as recommended by Haborview for pain.

3.27 On April 2, 2017, the Seattle Times published an article about the numerous
lawsuits against CCS/Conmed and how Pierce County had quit paying them, ended their contract
of jail medical services and found another provider. CCS sued Pierce County for breach of
contract.

3.28 A Pierce County deputy prosecutor noted Pierce County’s one year with CCS as
the jail medical provider resulted in 11 legal claims and 4 lawsuits and stated in a letter to CCS
that it was “incompetent, unprofessional and morally reprehensible.” The article goes on to
mention that Pierce County was not alone in their problems with CCS and named Kitsap, Clark

and Cowlitz as other counties facing lawsuits alleging inmates received poor or questionable care.

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Fax (360) 692 1257

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 9 of 17

3.29 On November 7, 2017, Sheriff Gary Simpson wrote a six-page letter to CCS
regarding their contract deficiencies. Deficiencies included failure to conduct inmate histories and
physicals within 14 days with a backlog of 300 inmates, that CCS has been unable to provide “fully
qualified professional healthcare employee staff to deliver correctional health care services,” and
that CCS was not providing information on medical treatment to the Chief of Corrections as
required in the contract.

3.30 Brandon Roberts received inadequate medical treatment in the jail beginning in
February 2018.

3.31 Corrections staff, not CCS medical staff, is responsible for transporting inmates
from the Jail to court.

3.32 Roberts could not be transported to court for his initial appearance because his
bandage had not been changed and he was covered in blood. Corrections staff was aware Robert’s
wounds were not being treated by CCS. Roberts was made to sleep on the floor without pain
medication and when his bandage was finally changed it was without lidocaine jelly as
recommended by Harborview Medical Center.

3.33 On September 11, 2018, the Kitsap Daily News published an article regarding the
expiration of Kitsap County’s contact with CCS wherein Sheriff Gary Simpson states, “We are
totally responsible for the welfare of these people when they are in our custody.” Simpson also
commented on his request that the County Commissioners fund a new position for an auditor to
oversee the activities of the medical provider. Simpson stated, “It’s something I’m begging to
have happen.” “We need to have someone that’s going to be auditing the practices of the provider
on behalf of the sheriff's office and the county, so we know that what they’re doing is what we

want them to be doing.”

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Fax (360) 692 1257

23

24

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 10 of 17

3.34 KCSO and Defendants Gary Simpson, Mark Rufener, and John Gese were aware
CCS was an inadequate health care provider.

3.35 KCSO, Simpson, Rufener and Gese were responsible for the care of Mr. Roberts
but chose to not properly care for him while in their custody.

3.36 But instead of terminating the contract to protect the health and well-being of those
placed in their care and facing potential liability on breach of contract like Pierce County, Simpson,
Rufener and Gese decided to wait it out. Knowing CCS was providing inadequate care for those
in their custody, the Kitsap County defendants failed to supervise the contract, and jail staff, to
ensure that Roberts received care during this period. They knew he was not receiving adequate
medical care and were indifferent.

3.37 On March 11, 2019, the Information was amended and included the charges of
Assault in the First Degree on Officer Johnson, one charge of Assault in the First Degree on Kitsap
County Sheriffs Deputy David R. Corn (another officer near Mr. Robert’s vehicle), one charge of
Possession of a Controlled Substance, and one charge of Attempting to Elude a Police Vehicle and
proceeded to jury trial.

3.38 On March 28, 2019, Mr. Roberts was found not guilty of the count of Assault in
the First Degree on Officer Johnson, guilty of Possession of a Controlled Substance and
Attempting to Elude a Police Vehicle, and the jury did not reach a unanimous decision as to the
remaining Assault in the First Degree on Officer Corn.

3.39 The Court released Mr. Roberts after the verdict with no bail required.

3.40 On December 6, 2019, Mr. Roberts plead guilty to one count of Assault in the
Fourth Degree and one count of Unlawful Carrying or Handling of a Weapon to avoid being retried

on the remaining count of Assault in the First Degree on Officer Corn.

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Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 11 of 17

3.41. Mr. Roberts continues to experience the mental and physical effects of his injuries
related to Officer Johnson shooting him, and the hostility and indifference shown to him by
medical staff in the Jail.

3.42 He is undergoing treatment for anxiety and post-traumatic stress disorder which
have been exacerbated by the Defendants.

3.43 He continues to experience reduced sensation and numbness in the fingers of his

injured hand.

IV. FIRST CAUSE OF ACTION
42 U.S.C. § 1983 — Excessive Force and Brutality

4] By virtue of the facts set forth above, Defendants City of Bainbridge Island,
Hamner, and Johnson are liable for deprivation of Mr. Robert’s civil rights guaranteed by the
Fourth Amendment to the Constitution of the United States and 42 U.S.C. § 1983, to be free from

the use of excessive force and physical brutality.

4.2 By virtue of the facts set forth above, Defendant City of Bainbridge Island and
Defendant Hamner are liable under Monell v. Department of Social Services of City of New York,
436 U.S. 658 (1978), in that a policy or custom can be inferred from a showing of ratification of

an unconstitutional act and BIPD’s polices, customs, and established practices.

V. SECOND CAUSE OF ACTION
42 U.S.C. § 1983 — Deliberate Indifference

5.1 By virtue of the facts set forth above, Defendants CCS, Kitsap County, Ruefner,
Gese, Simpson, and Defendant Does 1-30, acting under the color of state law in their individual

capacities, deprived Mr. Roberts as a pretrial detainee of the rights, privileges and immunities

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Fax (360) 692 1257

23

24

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 12 of 17

secured by the Fourteenth Amendment by subjecting him, or through their deliberate
indifference, allowing others to subject him, to delay and denial of access to medical care for a
serious medical condition.

5.2 By virtue of the facts set forth above, Kitsap County and its Policymaking
Defendants, and CCS each permitted and failed to prevent the unconstitutional acts of other
Defendants and individuals under their supervision and control, and failed to properly supervise
such individuals, with deliberate indifference to the rights and serious medical needs of Mr.
Roberts.

5.3 These Defendants knew that Mr. Roberts’ gunshot wounds were serious injuries
that were painful and required medical treatment. Defendants further knew that they had a duty to
provide Mr. Roberts medical care, including pain relief; and Defendants intentionally delayed, or
denied Mr. Roberts’ urgently needed medical treatment.

5.4 Asaresult of Defendants’ deliberate indifference to Mr. Roberts’ need for medical
treatment, Mr. Roberts suffered damages and deprivation of constitutional rights, as described
herein.

5.5 By the actions and omissions described above, these Defendants violated 42 U.S.C.
§ 1983, depriving Mr. Roberts of the right to be free from deliberate indifference to Mr. Roberts’
serious medical needs while in custody and confined in jail as a pretrial detainee, as secured by the
Fourteenth Amendment.

5.6 Asaproximate result of the foregoing wrongful acts and/or omissions, Mr. Roberts
sustained injuries and damages as set forth above. Mr. Roberts is therefore entitled to general and

compensatory damages in an amount to be proven at trial.

Amended Complaint - 12 KITSAP LAW GROUP
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Tel (360) 692 6415
Fax (360) 692 1257

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 13 of 17

5.7 In committing the acts alleged above, these Defendants acted maliciously and/or
were guilty of a wanton and reckless disregard for the rights, safety, and emotional wellbeing of
Mr. Roberts and by reason thereof, Mr. Roberts is entitled to punitive damages and penalties
allowable under 42 U.S.C. § 1983 and other state and federal law against these Defendants.

5.8 By virtue of the facts set forth above, as supervisors Defendant Kitsap County
and its Policymaking Defendants, and CCS each permitted and failed to prevent the
unconstitutional acts of other Defendants and individuals under their supervision and control,
and failed to properly supervise such individuals with deliberate indifference to the rights and
medical needs of Mr. Roberts and are liable under Monell v. Department of Social Services of
City of New York, 436 U.S. 658 (1978), in that a policy or custom can be inferred from a showing

of ratification of an unconstitutional act and their polices, customs, and established practices.

VI. THIRD CAUSE OF ACTION
Negligence, Gross Negligence, and Negligence Per Se

6.1 At all material times, Defendants CCS and Defendant Does 1-15 owed Mr. Roberts
the duty to act with due care in the execution and/or enforcement of any right, law, or legal
obligation.

6.2 At all material times, Defendants CCS and Does 1-15 owed Mr. Roberts the duty

to act with due care in the execution and/or enforcement of any right, law, or legal obligation.

Amended Complaint - 13 KITSAP LAW GROUP
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Tel (360) 692 6415
Fax (360) 692 1257

23

24

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 14 of 17

VII. FOURTH CAUSE OF ACTION

Negligent Infliction of Emotional Distress

7.1 The negligence and deliberate indifference of Defendants CCS and Defendant Does
1-15, as described above caused Mr. Roberts emotional distress, and as a direct and proximate
result, Mr. Roberts suffered damages, and continues to incur damages in an amount to be

established at trial.

VIII. FIFTH CAUSE OF ACTION
Negligence

8.1 Atall material times, Bainbridge Island Defendants owed Mr. Roberts the duty to
act with due care in the execution and/or enforcement of any right, law, or legal obligation. This
duty includes an obligation to act in a careful, lawful and prudent manner and in full compliance
with applicable law.

8.2 Defendants BIPD and Hamner had a duty of care to properly train officers to handle
arrests without using excessive force and brutality and, as officers to carry out arrests without using
excessive force and brutality.

8.3. By virtue of the facts set out above, the Bainbridge Island Defendants breached
their duty to act as reasonable law enforcement officers by failing, neglecting, and/or refusing to
properly and fully discharge their responsibilities.

8.4 Defendants BIPD and Hamner were responsible for training and supervising the
individually named Defendant Johnson and possessed a duty to adequately train and supervise
Johnson. Defendants acted negligently by failing to adequately and properly train and supervise

Johnson with respect to the discharge of his responsibilities and duties.

Amended Complaint - 14 KITSAP LAW GROUP
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Tel (360) 692 6415
Fax (360) 692 1257

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 15 of 17

8.5 Asaproximate cause of Defendants’ breach of their duty to act as reasonable law
enforcement officers, and to train and supervise Johnson, Plaintiff has suffered harm, entitling
Plaintiff to damages in an amount to be proven at trial, including, but not limited to, pain, suffering,
emotional distress, anxiety, and humiliation, all of which have resulted in general damages for pain
and suffering in an amount to be proven at trial.

8.6 At all material times, County Defendants owed Mr. Roberts the duty to act with
due care in the execution and/or enforcement of any right, law, or legal obligation.

8.7 These general duties of reasonable care owed to Mr. Roberts by County Defendants
include, but are not limited to, the following specific obligations:

a. To provide safe and appropriate jail custody for Mr. Roberts, including
reasonable classification, monitoring, and housing, including placing him in
physically appropriate housing taking into consideration his medical needs.

c. To execute the recommendations of health professionals regarding Mr.

Roberts care.

d. To provide and/or summon necessary and appropriate medical care for Mr.
Roberts.
e. Appropriately train, supervise, and discipline employees and agents.

8.8 As aresult of the County Defendants’ negligence Mr. Roberts has suffered pain,
emotional distress, anxiety, and humiliation, all of which have resulted in general damages for pain

and suffering in an amount to be proven at trial.

Amended Complaint - 15 KITSAP LAW GROUP
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Silverdale, WA 98383
Tel (360) 692 6415
Fax (360) 692 1257

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 16 of 17

IX. DISCOVERY AND LIMITED PHYSICIAN/PATIENT WAIVER

9.1. Plaintiffs waives the physician patient privilege ONLY to the extent required by
RCW 5.60.060, as limited by the Plaintiff's constitutional rights of privacy, contractual rights of
privacy and the ethical obligation of physicians and attorneys not to engage in ex-parte contact

between a treating physician and the patient’s legal adversaries.

X. JURY DEMAND
10.1 Plaintiff hereby demands a jury trial.
XI. AMENDMENTS
11.1 Plaintiff hereby reserves the right to amend this Complaint.
XII. PRAYER FOR RELIEF

12.1 Adjudge and declare that the actions, customs, and policies, and practices of
Defendants described in this Complaint violated Mr. Robert’s rights under the federal and state
constitutions and award Mr. Roberts economic and noneconomic damages pursuant to 42 U.S.C.
§§ 1983 and 1988, in an amount to be determined at trial;

12.2 Punitive damages under 42 U.S.C. § 1983, federal law and Washington law, in an
amount according to proof and which is fair, just, and reasonable;

12.3 All other damages, penalties, costs, interest, and attorneys’ fees as allowed by 42
U.S.C. §§ 1983 and 1988; and as otherwise may be allowed by Washington and/or federal law.

12.4 That Plaintiff be awarded general and special damages against Defendants in an

amount to be proven at trial for negligence, gross negligence, negligence per se, and negligent

Amended Complaint - 16 KITSAP LAW GROUP
3212 NW Byron Street Suite 101
Silverdale, WA 98383
Tel (360) 692 6415
Fax (360) 692 1257

Case 3:21-cv-05165-TSZ Document 23 Filed 05/18/21 Page 17 of 17

infliction of emotional distress as allowed by law including but not limited to past and future
medical expenses and other health care expenses; past and future loss of earnings; permanent
partial impairment of earnings and earning capacity; pain and suffering, both mental and physical;
past and future permanent partial disability; loss of enjoyment of life and for reduction of life
expectancy; past and future special damages; and interest calculated at the maximum amount
allowable by law, including prejudgment interest.

12.5 For such other and further relief as the Court deems just and equitable.

DATED this 10 — day of May 2021.

KITSAP LAW GROUP

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Amended Complaint - 17 KITSAP LAW GROUP
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